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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

BHANDARA FAMILY LIVING TRUST,                        §
                                                     §
      Plaintiff,                                     §
                                                     §
v.                                                   § CIVIL ACTION NO.: 4:19-cv-00968
                                                     §
UNDERWRITERS AT LLOYD’S LONDON                       §
F/K/A CERTAIN UNDERWRITERS AT                        §
LLOYD’S, LONDON, INDIAN HARBOR                       §
INSURANCE COMPANY, QBE SPECIALTY                     §
INSURANCE COMPANY, STEADFAST                         §
INSURANCE COMPANY, GENERAL                           §
SECURITY INDEMNITY COMPANY OF                        §
ARIZONA, UNITED SPECIALTY                            §
INSURANCE COMPANY, LEXINGTON                         §
INSURANCE COMPANY, OLD REPUBLIC                      §
UNION INSURANCE COMPANY, AMRISC,                     §
LLC, AND US RISK, LLC,                               §
                                                     §
       Defendants.                                   §

        UNOPPOSED MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

TO THE HONORABLE COURT:

        Jennifer Justice of the law firm of Clark Hill Strasburger requests permission to withdraw

from representing Defendant AmRisc, LLC. This Motion is based on good cause because

Jennifer Justice is resigning, effective February 14, 2020, from the law firm of Clark Hill

Strasburger, attorneys for Defendant AmRisc, LLC. This motion is not sought for delay and is

unopposed by counsel for Plaintiffs. Ms. Justice requests that Jeremy Wallace, attorney with the

law firm of Clark Hill Strasburger, be substituted in her place. Scott A. Shanes will remain as

lead counsel. Jeremy Wallace’s contact information is:




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                                          Jeremy Wallace
                                      State Bar No. 24110825
                                   2600 Dallas Parkway, Suite 600
                                        Frisco, Texas 75034
                                       469-287-3903 (Phone)
                                      jwallace@clarkhill.com

        WHEREFORE, PREMISES CONSIDERED, Jennifer Justice respectfully requests that

this Court permit her to withdraw from this cause, and substitute Jeremy Wallace as counsel in

her place.

                                              Respectfully submitted,



                                              SCOTT A. SHANES
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                                              shaness@clarkhill.com
                                              JENNIFER A. JUSTICE
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                                              ATTORNEYS FOR DEFENDANT
                                              AMRISC, LLC


                                 CERTIFICATE OF CONFERENCE

       I, the undersigned attorney, hereby certify to the Court that I have conferred with
opposing counsel in an effort to resolve the issues contained in this motion without the necessity
of Court intervention, and opposing counsel indicated that they do not oppose this motion.



                                              JENNIFER JUSTICE




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                                 CERTIFICATE OF SERVICE

        The undersigned counsel certifies that on February 13, 2020 a true and correct copy of
the foregoing was forwarded to all counsel of record in accordance with the Texas Rules of Civil
Procedure.



                                            JENNIFER JUSTICE




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